 Case 2:25-cv-05565   Document 6     Filed 06/19/25   Page 1 of 2 Page ID #:116



 1   Rom Bar-Nissim (SBN: 293356)
     Rom@HeahBarNissim.com
 2   HEAH BAR-NISSIM LLP
     1801 Century Park East, Suite 2400
 3   Los Angeles, CA 90067
     Telephone: 310.432.2836
 4
     Attorneys for Plaintiff
 5   Ted Entertainment, Inc.
 6

 7

 8
                         UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10

11
     TED ENTERTAINMENT, INC., a                Case No.: 2:25-cv-5565
12   California Corporation,
13                      Plaintiff,             NOTICE OF LODGING OF FLASH
                                               DRIVE CONTAINING VIDEO
14                                             EXHIBITS TO COMPLAINT
           v.
15
     MORGAN KAMAL MAJED p/k/a
16   FROGAN, an individual, and DOES
     1-10
17
                       Defendants.
18

19
20

21

22

23

24

25

26

27

28


          NOTICE OF LODGING OF FLASH DRIVE CONTAINING VIDEO EXHIBITS TO COMPLAINT
 Case 2:25-cv-05565     Document 6     Filed 06/19/25   Page 2 of 2 Page ID #:117



 1         TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF
 2   RECORD:
 3         PLEASE TAKE NOTICE that plaintiff Ted Entertainment, Inc. (“TEI”)
 4   herby lodges with the Court the following materials in conjunction with its
 5   Complaint against defendants Morgan Kamal Majed p/k/a Frogan (“Frogan”) and
 6   Does 1-10.
 7          1.     A flash drive containing the following exhibits to the Complaint:
 8                a. Exhibit D: The deposit copy of TEI’s copyrighted work entitled
 9                   Content Nuke: Hasan Piker
10                b. Exhibit E: The broadcast copy of TEI’s copyrighted work entitled
11                   Content Nuke: Hasan Piker
12                c. Exhibit H: Frogan’s January 31, 2025 broadcast
13                d. Exhibit I: Clip from Frogan’s January 30, 2025 broadcast
14          PLEASE TAKE FURTHER NOTICE that the flash drive identical to that
15   described is being served on Frogan.
16

17        Dated: June 19, 2025                      HEAH BAR-NISSIM LLP
18
                                               By /s/ Rom Bar-Nissim
19                                                ROM BAR-NISSIM
                                                  Attorneys for Plaintiff Ted
20                                                Entertainment, Inc.
21

22

23

24

25

26

27

28

                                                1
                                            COMPLAINT
